From:            Jim Davis
To:              Dan Puryear
Cc:              Houston IV, David W.
Subject:         FW: DDAs for Capstone
Date:            Tuesday, September 15, 2020 4:18:06 PM


Hello Dan,

Per our conversation please see the email string below. You will find the BOA contact information as
well.

Best regards,


Jim Davis | Director
Chiron Financial LLC | Dallas, Texas
Corporate Headquarters | Fulbright Tower Suite 2800 | 1301 McKinney | Houston, Texas 77010
(713) 929-9086 direct             
(205) 266-0399 mobile
jdavis@chironfinance.com | www.ChironFinance.com




From: "JDavis@chironfinance.com" <JDavis@chironfinance.com>
Date: Tuesday, September 15, 2020 at 11:42 AM
To: "Houston IV, David W." <dhouston@burr.com>
Subject: FW: DDAs for Capstone

FYI


From: "Meek, Peter" <peter.meek@bofa.com>
Date: Tuesday, September 15, 2020 at 11:39 AM
To: "JDavis@chironfinance.com" <JDavis@chironfinance.com>, "CareNation@comcast.net"
<CareNation@comcast.net>
Cc: Daniel Fleming <DFleming@wongfleming.com>
Subject: RE: DDAs for Capstone

Thanks for both of your responses.

Bank of America is in process of retaining counsel regarding this and other issues related to
Capstone Pediatrics. We will be Daniel Fleming of Wong Fleming who is copied on this email.

Please provide us with name and contact information of counsel representing CareNation and, if
appropriate, Capstone Pediatrics PLLC



Case 3:20-ap-90140 Doc 10-1 Filed 09/17/20 Entered 09/17/20 10:31:52 Desc
  Exhibit Email correspondence between Gaw and Bank of America Page 1 of 4
Thanks
Peter

Peter G. Meek
Senior Vice President
100 N. Tryon Street
NC1-007-31-05
Charlotte, NC 28255-0001
980-683-4390 (work)
980-579-8491 (cell)
704-625-5294 (fax)
peter.meek@bofa.com



From: Jim Davis [mailto:JDavis@chironfinance.com]
Sent: Tuesday, September 15, 2020 12:11 PM
To: CareNation@comcast.net; Meek, Peter <peter.meek@bofa.com>
Subject: Re: DDAs for Capstone

Michael,

Thanks for the email. Just to clarify (as we discussed this morning). It is the position of the US
Trustee that these bank accounts are still part of the “old” Capstone business which in a non-
operating entity at this point. I am the CRO of that entity. Until there is documentation or a ruling
that changes the status (or transfer of these accounts to your new entity) these accounts should still
be under my signatory authority and the purview of the US trustee.

As we discussed we want to get this resolved as soon as possible.

Thank you.

Best regards,


Jim Davis | Director
Chiron Financial LLC | Dallas, Texas
Corporate Headquarters | Fulbright Tower Suite 2800 | 1301 McKinney | Houston, Texas 77010
(713) 929-9086 direct             
(205) 266-0399 mobile
jdavis@chironfinance.com | www.ChironFinance.com




From: "CareNation@comcast.net" <CareNation@comcast.net>
Date: Tuesday, September 15, 2020 at 11:01 AM

Case 3:20-ap-90140 Doc 10-1 Filed 09/17/20 Entered 09/17/20 10:31:52 Desc
  Exhibit Email correspondence between Gaw and Bank of America Page 2 of 4
To: "'Meek, Peter'" <peter.meek@bofa.com>, "JDavis@chironfinance.com"
<JDavis@chironfinance.com>
Subject: RE: DDAs for Capstone

Peter,

Post acquisition, as of July 20, 2020 the Capstone banks accounts are part of the assets acquired by
ACT/CareNation. They have been superceded by ACT/CareNation as Michael Gaw is the only signer
as of July 20, 2020. BOA was notified of this change. Nobody has access to our bank accounts but
myself. Jim Davis is no longer CRO and the accounts are controlled by Capstone/ACT/CareNation.

Sincerely,

Michael Gaw

615-739-3371




From: Meek, Peter <peter.meek@bofa.com>
Sent: Tuesday, September 15, 2020 10:52 AM
To: Jim Davis <JDavis@chironfinance.com>; CareNation@comcast.net
Subject: DDAs for Capstone

Jim, Michael,

Michael has requested that the Bank add him as an authorized signer on the three DDAs for
Capstone Pediatrics, PLLC. I discussed the current situation with Jim last night and my understanding
is that the three accounts are assets owned by the corporate entity that is in bankruptcy and that
Jim is the sole signer on these accounts. Furthermore Jim as CRO has not authorized Michael Gaw or
CareNation to be added as an authorized signer one these accounts.

Please advise if my understanding is correct relative to these three accounts under the name of
Capstone Pediatrics PLLC – Debtor in possession Case 19-01971.

Thanks
Peter




Peter G. Meek
Senior Vice President
100 N. Tryon Street
NC1-007-31-05
Charlotte, NC 28255-0001

Case 3:20-ap-90140 Doc 10-1 Filed 09/17/20 Entered 09/17/20 10:31:52 Desc
  Exhibit Email correspondence between Gaw and Bank of America Page 3 of 4
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  Exhibit Email correspondence between Gaw and Bank of America Page 4 of 4
